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 1   DAVID A. TORRES AND ASSOCIATES
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 5

 6
                            IN THE UNITED STATES DISTRICT COURT
 7
                          FOR THE EASTERN DISTRICT of CALIFORNIA
 8

 9
                                                      )   Case No.1:11-CR-00353AWI-BAM-5
     UNITED STATES OF AMERICA,                        )
10
                                                      )
                    Plaintiff,                        )   STIPULATION AND PROPOSED ORDER
11
                                                      )   TO CONTINUE SENTENCING
            vs.                                       )   HEARING
12
                                                      )
     ISRAEL MARTIN DEL CAMPO,                         )
13
                                                      )
                    Defendant                         )
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     TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE
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     ANTHONY W. ISHII AND MELANIE L. ALSWORTH, ASSISTANT UNITED STATES
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     ATTORNEY:
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            COMES NOW Defendant, ISRAEL MARTIN DEL CAMPO, by and through his
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     attorney of record, DAVID A. TORRES hereby requesting that the Sentencing Hearing that is
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     currently set on October9, 2013 at 10:00 a.m. be continued to Monday, October 28, 2103.
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            My client entered a plea on April 29, 2013, however, has not been sentenced in that he
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     agreed to provide truthful testimony at the time of his co-defendants trial. His sentencing was to
22
     be delayed until after all defendants had been tried.
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            Approximately three weeks ago, my client was debriefed a third time to assist the AUSA
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     prepare for trial. All co-defendants have now pled at the eve of trial. As such, I am requesting a
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     continuance of the sentencing date to Monday, October 28, 2013, to afford counsel an




                                        Summary of Pleading - 1
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 1   opportunity to prepare a Sentencing Statement. I have spoken to AUSA Melanie Alsworth, she

 2   has no objection to the continuance.

 3

 4                          IT IS SO STIPULATED.

 5   DATED: October 7, 2013                                        Respectfully Submitted,

 6                                                                 /s/ David A Torres        ___
                                                                   DAVID A. TORRES
 7                                                                 Attorney for Defendant
                                                                   Israel Del Campo
 8

 9
     DATED: October 7, 2013                                        /s/Melanie L. Alsworth_______
10                                                                 MELANIE L. ALSWORTH
                                                                   Assistant U.S. Attorney
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12
                           IT IS SO ORDERED that the Sentencing hearing be continued to Monday, October 28,
13
     2013.
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16   IT IS SO ORDERED.

17   Dated: October 8, 2013
     DEAC_Signature-END:
                                                           SENIOR DISTRICT JUDGE
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     0m8i788
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                                                   Summary of Pleading - 2
